                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION


 UNITED STATES OF AMERICA,                    '
                                              '
        Plaintiff,                            '
                                              '   CAUSE NO.: EP-20-CR-00389-DCG
                                              '
 v.                                           '
                                              '
 PATRICK WOOD CRUSIUS,                        '
                                              '
        Defendant.                            '

                                          NOTICE

       The United States of America hereby notifies the Court and Defendant PATRICK WOOD

CRUSIUS that the Government will not seek the death penalty in the instant case.

                                           Respectfully submitted,

                                            MARGARET LEACHMAN
                                            FIRST ASSISTANT UNITED STATES
                                            ATTORNEY

                                           /s/ Ian Martinez Hanna                  .
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January 2023, a true and correct copy of the
foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF
System, which will transmit notification of such filing to the following CM/ECF participants:

Joe A. Spencer
Rebecca L. Hudsmith
Mark Stevens
Felix Valenzuela

Attorneys for Defendant

                                          /s/ Ian Martinez Hanna                    .
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